                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION- FLINT



In re: Barbara F. Palmer                                           Case No. 12-33124

     Debtor                                                        Chapter 7

                                                                   Judge Daniel S. Opperman



                     DEBTOR’S RESPONSE TO TRUSTEE’S OBJECTION TO
                             AMENDED EXEMPTIONS

NOW COMES Debtor Barbara Palmer, by and through her attorney Linda Rawls, responds to
the Trustee’s Objection to Amended Exemptions. In support of her response, Ms. Palmer states
as follows:

   1. Ms. Palmer filed a chapter 7 bankruptcy on July 30, 2012 and did not disclose on her

       original schedules a personal injury claim. Nor did she disclose the personal injury claim

       at the 341 hearing held on August 27, 2012.

   2. Ms. Palmer did not disclose this information because she had been struggling with

       memory issues as early as 2009, but was diagnosed with dementia in 2016.

   3. The Debtor obtained a discharge on October 29, 2012 and the case was closed on

       November 1, 2012.

   4. Ms. Palmer retained Sommers & Swartz, P.C. on May 7, 2012 and a Complaint was filed

       on September 26, 2012, which was a month after the 341 hearing.

   5. Trustee Collene Corcoran filed an Ex Parte Motion to Reopen the case on January 20,

       2017 and the Court granted that Motion on the same day.

   6. Ms. Palmer amended her schedules as a matter of course on October 30, 2017 to include

       the wild card and personal injury exemptions.




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   7. Ms. Palmer should be allowed to claim theses exemptions under Law v Siegel, 134 S. Ct.

       1188 (2014) and Ellmann v Baker (In re Baker), 2015 WL 4033098 (6th Cir. July 2,

       2015).

   8. Ms. Palmer did not act in bad faith nor did she fraudulently conceal the asset. But Ms.

       Palmer should be allowed to claim the exemption regardless.



WHEREFORE, Ms. Palmer respectfully requests this Court to allow all claimed exemption.



Date: November 15, 2017                         /s/____Linda J. Rawls____________
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